Case 3:19-cr-00630-B Document 67 Filed 02/21/20 Pagelof1 PagelD 150

CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)

 

1. CIR/DIST./ DIV, CODE
O5TXN3

2. PERSON REPRESENTED
Stewart Albert Elizardo

 

VOUCHER NUMBER

 

 

3. MAG. DKT./DEF. NUMBER

4. DIST. DKT./DEF. NUMBER
3:19-cr-00630-B *SEALED* - 10

5. APPEALS DKT./DEF. NUMBER 6. OTHER DKT. NUMBER

 

7, INCASE/MATTER OF (Case Name)

8. PAYMENT CATEGORY

 

9. TYPE PERSON REPRESENTED 10, REPRESENTATION TYPE

& Felony O Petty Offense (W Adult Defendant O Appellant (See Instructions)
USA v. SEALED CO Misdemeanor O Other C1 Juvenile Defendant ( Appellee | CC
OO Appeal O_ Other

 

 

11, OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) /f more than one offense, list (up to five) major offenses charged, according to severity of offense.
21 USC § 846 Conspiracy to Possess with Intent to Distribut

e a Controlled Substance

 

12.

Ja

ATTORNEY’S NAME (First Name, M.1., Last Name, including any suffix),
AND MAILING ADDRESS

son B. Freeman

2595 Dallas Parkway, Suite 420
Frisco, TX 75034

(214) 984-3410
Telephone Number :

 

13. COURT ORDER

( O Appointing Counsel

OF Subs For Federal Defender
O P. Subs For Panel Attorney

O C Co-Counsel
O R_ Subs For Retained Attorney
O Y Standby Counsel

Prior Attorney’s
Appointment Dates:
O Because the above-named person represented has tesfffiéd under oath or has otherwise
satisfied this Court that he or she (1) is financially unabld to employ counsel and (2) does
not wish to waive counsel, and becau; e interests of justice|so require, the attorney whose

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

in excess of the statutory threshold amount.

14, NAME AND MAILING-ADDRESS OF le per instructions) name appears in Item 12 is afpo}nted to rdpresent this pegson in this case, OR
oe 0 Other (See Instructiohs) |
STR TEXAS |
MED |
ilu] } | aa a”
1 i Signatur of Prestfing Judge rd the Court
}
| 2/21/2020
| a rs Date of Order Nune Pro Tune Date
j DIST ( COURT Repayment or partial repayment ordered from the person represented for this service at time
; } appointment. O YES QO NO
CLAIM FOR \NB EXPENSES FOR COURT USE ONLY
— TOTAL MATH/TECH. MATH/TECH.
CATEGORIES (Attach itemization of services with dates) ee AMOUNT ADJUSTED ADJUSTED sa
CLAIMED HOURS AMOUNT
NE
15. | a. Arraignment and/or Plea ! E
b. Bail and Detention Hearings t !
c. Motion Hearings ' t
~ Ld. Trial \ 1
5 e, Sentencing Hearings ' 1
- f. Revocation Hearings 1 '
™ |g. Appeals Court 1 '
h. Other (Specify on additional sheets) ' '
(RATE PER HOUR=$ ) TOTALS: v v . ¥
—
16. | a. Interviews and Conferences ;
+ |b. Obtaining and reviewing records i ,
& c. Legal research and brief writing f i
‘5 |d_ Travel time ' ‘
& e. Investigative and other work (Specify on additional sheets) ! ‘
(RATE PER HOUR=$ ) __ TOTALS; MW v v v
17. | Travel Expenses (lodging, parking, meals, mileage, etc.)
18. | Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED): = y
19, CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE 20. APPOINTMENT TERMINATION DATE 21. CASE DISPOSITION
IF OTHER THAN CASE COMPLETION
FROM: TO:
22. CLAIM STATUS O Final Payment O Interim Payment Number O Supplemental Payment
Have you previously applied to the court for compensation and/or reimbursement for this case? O YES OQ NO If yes, were you paid? O YES ONO
Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
representation? © YES O NO If yes, give details on additional sheets.
I swear or affirm the truth or correctness of the above statements,
Signature of Attorney Date
APPROVED FOR PAYMENT — COURT USE ONLY
23. INCOURT COMP. 24. OUT OF COURT COMP. | 25. TRAVEL EXPENSES 26. OTHER EXPENSES 6 TOTAL AMT. APPR/CERT.
28. SIGNATURE OF THE PRESIDING JUDGE DATE 28a. JUDGE CODE
29, INCOURT COMP. 30. OUT OF COURT COMP. | 31. TRAVEL EXPENSES 32. OTHER EXPENSES 3: TOTAL AMT. APPROVED
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved | DATE 34a. JUDGE CODE

 

 

 

 

 
